       Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 1 of 9




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                  )   MDL No. 16-2740
PRODUCTS LIABILITY                           )
LITIGATION                                   )   SECTION: “H” (5)
                                             )
This document relates to:                    )
Barbara Bice, 17-00751                       )
Belinda Cole, 16-17945                       )
Mary Hughes, 16-17205                        )
Doris Pickett, 16-17180                      )
Dorothy Powell, 16-17974                     )
Virginia Talbert, 16-17236                   )



                               ORDER AND REASONS
          Before the Court are Motions for Reconsideration filed by several
Plaintiffs in this MDL: Doc. 2538 filed by Barbara Bice; Doc. 2540 filed by
Belinda Cole; Doc. 2541 filed by Mary Hughes; Doc. 2545 filed by Doris Pickett;
Doc. 2549 filed by Dorothy Powell; and Doc. 2554 filed by Virginia Talbert.
Plaintiffs seek relief from the Court’s “Order on Responses to Show Cause No.
2,” issued on April 20, 2018 (Doc. 2302). The Order dismissed Plaintiffs’ claims
with prejudice for failure to comply with Show Cause Order No. 2. The Court
will rule on each Motion individually.


                                  BACKGROUND
          Under Amended Pretrial Order No. 22, each Plaintiff must submit a
complete and verified Plaintiff Fact Sheet (“PFS”) to Defendants within 75
days of the date she filed her complaint. 1 Amended PTO 22 provides that a


1   Doc. 325 at 2, ¶ 3.

                                         1
    Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 2 of 9



failure to comply could result in dismissal. 2 Specifically, Paragraph 5 of the
PTO provided as follows:
       Plaintiffs who fail to provide a complete and verified PFS, signed
       and dated Authorizations, and all responsive documents requested
       in the PFS within the time periods set forth herein shall be given
       notice of deficiency via MDL Centrality within forty-five (45) days
       of service of the PFS, and shall be given thirty (30) days to cure
       such deficiency. Afterwards, Defendants may add the name and
       case number of any Plaintiff who fails to cure deficiencies within
       the thirty-day cure period to the Agenda for the next Status
       Conference. No briefing is required. Any Plaintiff who remains
       deficient at the time of that Status Conference will be subject to an
       Order to Show Cause, returnable at the following Status
       Conference, which will require Plaintiff to show cause why her
       Complaint should not be dismissed with prejudice. Failure to
       timely comply may result in a dismissal of Plaintiff’s claim. 3


                                 LAW AND ANALYSIS
       Plaintiffs have filed Motions for Reconsideration. Each Plaintiff seeks
relief under Rule 60(b)(1) and Rule 60(b)(6), which provide that “the court may
relieve a party or its legal representative from a final judgment, order, or
proceeding for the following reasons: (1) mistake, inadvertence, surprise, or
excusable neglect . . . or (6) any other reason that justifies relief.” 4 Plaintiffs
argue that dismissal with prejudice is appropriate only if the plaintiff’s refusal
to comply with discovery results from “willfulness or bad faith and is
accompanied by a clear record of delay or contumacious conduct.” 5 On this




2 Id. at 3, ¶ 5.
3 Id.
4 FED. R. CIV. P. 60.
5 See, e.g., Doc. 2538-1 at 2.


                                         2
    Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 3 of 9



point, however, Plaintiffs cite single-plaintiff cases rather than cases being
adjudicated in an MDL. 6
       “[A]dministering cases in multidistrict litigation is different from
administering cases on a routine docket, so the lens through which the district
court . . . view[s] transgressions, and sanctions, is different as well.” 7
Multidistrict litigation is a “special breed of complex litigation where the whole
is bigger than the sum of its parts,” and the district court “needs to have broad
discretion to administer the proceeding as a whole, which necessarily includes
keeping the parts in line.”       8   It makes sense then that an MDL court may
consider “the importance of sanctions as a deterrent to noncompliance by the
thousands of other plaintiffs in the litigation.” 9
       Moreover, while public policy generally favors disposition on the merits
and counsels against dismissal, “a case that is stalled or unreasonably delayed
by a party’s failure to comply with deadlines and discovery obligations cannot
move forward toward resolution on the merits.” 10 Accordingly, public policy
considerations lend little support “to a party whose responsibility it is to move
a case toward disposition on the merits but whose conduct impedes progress in
that direction.” 11




6 Plaintiffs cite Boudwin v. Graystone Ins. Co., 756 F.2d 399 (5th Cir. 1985) on this point,
which cites Rogers v. Kroger, 669 F.2d 317 (5th Cir. 1982) and Morris v. Ocean Sys., Inc., 730
F.2d 248 (5th Cit. 1984). None of these involve MDLs.
7 In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F. 3d 1217, 1229 (9th Cir. 2006).
8 Id.
9 Id. See also id. at 1234 (“Sound management of the court’s docket also counsels in favor of

sanctions as a deterrent to others, particularly in the context of an MDL proceeding where
there are thousands of plaintiffs and tag-along cases . . . continually being added.”)
10 Id. at 1228.
11 Id.


                                              3
          Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 4 of 9



     I.     Barbara Bice’s Motion (Doc. 2538) 12
            Barbara Bice filed her claim in this MDL on January 27, 2017. 13 She
uploaded her PFS on June 2, 2017. Defendants contend that this initial PFS
was deficient and contained only four undated blurry photographs. On July 14,
2017, Bice was served with a deficiency notice, and she avers that she
responded to this on August 14, 2017. Defendants note that her response was
that she was “continuing to search for photographs responsive to this request”
and that she would “supplement as soon as they [were] located.” 14
            For several months, Bice failed to upload any supplemental information.
Bice states that she uploaded additional materials to MDL Centrality on
November 8, 2017 (HIPAA Authorization); December 8, 2017 (Proof of Use,
Medical Records, Disability and Social Security Documents); December 12,
2017 (Corrected Proof of Use); December 14, 2017 (Proof of Injury
Photographs); and December 15, 2017 (Second Amended Plaintiff Fact Sheet).
On November 15, 2017, she was identified in the Court’s Order to Show Cause
No. 2, indicating that her PFS was not substantially complete as to a 505(b)(2)
Defendant and Sanofi. 15
            In her response to the Order to Show Cause No. 2, Bice’s counsel
explained that they had “made numerous attempts, by email and phone to
reach Ms. Bice concerning her deficient [PFS].” 16 Counsel wrote that they
“have been unable to obtain pre-chemotherapy photographs from Ms. Bice” as
Bice had not been responding to their “urgent messages.” 17

12 Although Bice originally filed a Notice of Appeal concurrently with her Motion, she filed a
motion in the Fifth Circuit to remand her case to this Court, and the Fifth Circuit granted
her Motion (Doc. 3990). Accordingly, Defendants’ argument that the Court lacks jurisdiction
over this matter is moot.
13 Bice v. Sanofi S.A. et al., 2:17-cv-00751-JTM-MBN, Doc. 1.
14 Doc. 2706-2 (Exhibit 2) at pp. 5–6.
15 Doc. 1103.
16 Doc. 1287.
17 Id.


                                              4
      Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 5 of 9



        The Court finds that these are not the kind of extraordinary
circumstances that justify relief under Rule 60(b). The Court finds that counsel
exercised appropriate due diligence, but Bice failed to exercise her obligations
in this lawsuit. Accordingly, Bice’s Motion for Reconsideration (Doc. 2538) is
DENIED.


II.     Belinda Cole’s Motion (Doc. 2540)
        Belinda Cole filed her complaint on December 7, 2016, and her case was
transferred to this MDL on January 23, 2017. 18 On November 15, 2017, Cole
was identified in the Court’s Order to Show Cause No. 2, indicating that her
PFS had not been submitted. 19 In response, Cole’s counsel explained that they
made several attempts to contact Cole and asked for time to hire an
investigator to see if they could locate Cole and obtain a completed PFS. 20
        Cole’s Motion makes clear that counsel eventually contacted her. Cole
uploaded a PFS to MDL Centrality on January 18, 2018. In her Motion,
Plaintiff explains that after filing suit, she was diagnosed with a recurrence of
cancer and obtained chemotherapy and radiation treatment between March
2017 and November 2017. She also moved in with her sister and did not have
access to her cell phone.
        The Court finds that these are the kind of extraordinary circumstances
that justify relief under Rule 60(b). Accordingly, Cole’s Motion for
Reconsideration (Doc. 2540) is GRANTED and her case shall be REOPENED.




18 Cole v. Sanofi S.A. et al., 2:16-cv-17956-JTM-MBN, Doc. 1, Doc. 5.
19 Doc. 1103.
20 Doc. 1286.


                                              5
       Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 6 of 9



III.     Mary Hughes’s Motion (Doc. 2541)
         Mary Hughes filed her claim in this MDL on December 12, 2016. 21 On
November 15, 2017, Hughes was identified in the Court’s Order to Show Cause
No. 2, indicating that her PFS had not been submitted. 22 In response, Hughes’s
counsel explained to the Court that they made several attempts to contact
Hughes and asked for time to hire an investigator to see if they could locate
Hughes and obtain a completed PFS. 23
         Hughes’s Motion makes clear that counsel eventually contacted her.
Counsel learned that Hughes was making frequent trips between her home
and a hospital in Birmingham because her daughter was suffering
complications with a transplanted kidney. Counsel states that as a result, she
did not receive her PFS or subsequent letters from counsel. Her Motion states
that she also obtained a different cell phone number during this time, and she
was caring for two grandchildren.
         The Court finds that these are not the kind of extraordinary
circumstances that justify relief under Rule 60(b). The Court finds that counsel
exercised appropriate due diligence, but Hughes failed to exercise her
obligations in this lawsuit. Accordingly, Hughes’s Motion for Reconsideration
(Doc. 2541) is DENIED.


IV.      Doris Pickett’s Motion (Doc. 2545)
         Doris Pickett filed her claim in this MDL on December 12, 2016. 24 On
November 15, 2017, Pickett was identified in the Court’s Order to Show Cause
No. 2. 25 In response, Pickett’s counsel explained that they made several

21 Hughes v. Sanofi S.A. et al., 2:16-cv-17205, Doc. 1.
22 Doc. 1103.
23 Doc. 1278.
24 Pickett v. Sanofi S.A. et al., 2:16-cv-17180, Doc. 1.
25 Doc. 1103.


                                                6
       Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 7 of 9



attempts to contact Pickett and asked for time to hire an investigator to see if
they could locate Hughes and obtain a completed PFS. 26
         Pickett’s Motion explains that counsel sent Pickett a PFS on March 3,
2017. In May and in July, they sent her letters reminding her to complete her
PFS. Counsel reached Pickett in September 2017, and she told them she had
sent them a completed PFS. Counsel had not received it, so they sent Pickett
another PFS, but it was returned as undeliverable because her address had
changed. On January 30, 2018, counsel sent Pickett another PFS, and she
completed it. Counsel uploaded it to MDL Centrality on March 3, 2018. In her
Motion, counsel states that Pickett’s delay in uploading her PFS “is
attributable to her move and an unfortunate two-month oversight by counsel
in not sending her another PFS to complete after finally obtaining her new
address after the September PFS was returned as undeliverable.”
         The Court finds that these are not the kind of extraordinary
circumstances that justify relief under Rule 60(b). Like all other plaintiffs in
this litigation, Plaintiff Pickett was on notice that her case could be dismissed
if she failed to fulfill her obligations related to the Plaintiff Fact Sheet. Plaintiff
should have ensured that her counsel knew of her address change, and she
should have contacted counsel when she did not receive the second PFS in
September. Accordingly, Pickett’s Motion for Reconsideration (Doc. 2541) is
DENIED.


 V.      Dorothy Powell’s Motion (Doc. 2549)
         Dorothy Powell filed her complaint on December 7, 2016, and her case
was transferred to this MDL on January 10, 2017. 27 On November 15, 2017,



26   Doc. 1278.
27   Cole v. Sanofi S.A. et al., 2:16-cv-17956-JTM-MBN, Doc. 1, Doc. 5.

                                                7
      Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 8 of 9



Powell was identified in the Court’s Order to Show Cause No. 2 for failing to
submit a PFS. 28
        In her Motion, Plaintiff’s counsel explains that they believed that
Defendants agreed to remove Powell from the Order to Show Cause No. 2.
Powell’s counsel states, erroneously, that only one Plaintiff with the last name
Powell was listed on Show Cause Order No. 2, and when Defendants agreed to
remove “Powell” from the list, Plaintiff’s counsel assumed they were referring
to Dorothy Powell, even though the case number Defendants provided referred
to Plaintiff Tawonna Powell. Assuming Defendants agreed to remove Dorothy
Powell, Plaintiff’s counsel did not file a response to Show Cause Order No. 2.
        Plaintiff is incorrect that only one Powell was listed on Show Cause No.
2. Both Dorothy Powell and Tawonna Powell are listed in the Court’s Show
Cause Order No. 2, one right below the other. Regardless of this, Plaintiff
Dorothy Powell had ample time to submit a PFS and failed to do so.
        The Court finds that these are not the kind of extraordinary
circumstances that justify relief under Rule 60(b). Like all other plaintiffs in
this litigation, Plaintiff Powell was on notice that her case could be dismissed
if she failed to fulfill her obligations related to the Plaintiff Fact Sheet.
Accordingly, Powell’s Motion for Reconsideration (Doc. 2541) is DENIED.


VI.     Virginia Talbert’s Motion (Doc. 2554)
        Virginia Talbert filed her claim in this MDL on December 12, 2016. 29 On
November 15, 2017, Talbert was identified in the Court’s Order to Show Cause
No. 2 for failing to submit a PFS. 30



28 Doc. 1103.
29 Cole v. Sanofi S.A. et al., 2:16-cv-17956-JTM-MBN, Doc. 1, Doc. 5.
30 Doc. 1103.


                                              8
    Case 2:16-md-02740-JTM-MBN Document 5947 Filed 01/17/19 Page 9 of 9



      In her Motion, counsel explains that they tried for months to contact
Talbert. After hiring an investigator, they learned that she had been evicted
from her residence and that she no longer had a telephone. On January 8, 2018,
Talbert provided counsel with her new address and phone number. Counsel
eventually received Talbert’s PFS and uploaded it to MDL Centrality on March
2, 2018.
      The Court finds that these are not the kind of extraordinary
circumstances that justify relief under Rule 60(b). Like all other plaintiffs in
this litigation, Plaintiff Pickett was on notice that her case could be dismissed
if she failed to fulfill her obligations related to the Plaintiff Fact Sheet. Plaintiff
should have ensured that her counsel knew of her address change. Accordingly,
Talbert’s Motion for Reconsideration (Doc. 2554) is DENIED.


                                  CONCLUSION
      For the foregoing reasons, IT IS ORDERED that the following Motions
are DENIED: Barbara Bice’s Motion for Reconsideration (Doc. 2538); Mary
Hughes’s Motion for Reconsideration (Doc. 2541); Doris Pickett’s Motion for
Reconsideration (Doc. 2545); Dorothy Powell’s Motion for Reconsideration
(Doc. 2549); and Virginia Talbert’s Motion for Reconsideration (Doc. 2554).
      IT IS FURTHER ORDERED that Belinda Cole’s Motion for
Reconsideration (Doc. 2540) is GRANTED and her case shall be REOPENED.


      New Orleans, Louisiana, this 16th day of January, 2019.



                                        ____________________________________
                                        JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE


                                          9
